Case 2:12-cv-00016-JLH-LRS-SWW Document 18-3 Filed 02/22/12 Page 1of1

 

McGavock

' Poinsett es es

  

 

Coldwater

Hickory Ridge

 

 

 

 

Brushy Lake

 

Bedford

Fair Oaks
Ellis

 

i
Point

arden}

L’Anguille

 

Freeman

 

Garland

eenfield

Richland

Brinkley

Keevil

 

 

 

Pine BIEEE Big Creek

 

Hardy

 

 

   
 

Map layers
Census Block

[County

[__] County Subdivision

[__] Census Place

Roc Roe is |) Senate 2001
. [NN Senate 2011
EE Jeffers_01
18+_%Blk
0 ny. StuRA 8,999 and below
Jackson ice > em
mn “i 9,000 to 19,999
| } |) 20,000 to 29,999
HB 30,000 to 35,999
HE 36,000 to 39,999
HH 40,000 to 59,999
[E 60,000 to 69,999
HI 70,000 to 70,999

Other

0 2.5 5 7.5
es es
Miles

Arkansas Senate
Jeffers 01 District 24
2011 District 24
2001 District 16

Black Voting Age Population

% of Census Block

Jeffers v. Beebe, No. 2:12-CV-016 (E.D. Ark.)
Plaintiffs’ Exhibit 4

E
an — February 5, 2012
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Prairie ge Tappan

 

Point Deluce

 

 

 

 

 

 

 
